Case: 1:22-cr-00369-JPC Doc #: 10 Filed: 09/08/22 1of 4. PagelD #: 35

AO 199A (Rev. 12/11/OHND 5/17) Order Setting Conditions of Release Page | of 4

UNITED STATES DISTRICT COURT
for the

Northern _ District of Ohio

United States of America
Vv.

Case No. 1:22-cr-00369-JPC

Antonio Palazzolo
Defendant

New Nee Ne ee ee

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

Place

on

Date and Time
If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
Case: 1:22-cr-00369-JPC Doc #: 10 Filed: 09/08/22 2 of 4. PagelD #: 36

AO 199B (Rev. 12/11/OHND 5/17) Additional Conditions of Release Page 2 of 4

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(C1) (6) The defendant is placed in the custody of:
Person or organization
Address (only if above is an organization)
City and state : Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court ‘proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed: 9/8/2022
Custodian Date
(() (7) The defendant must:
({) (a) submit to supervision by and report for supervision to the U.S. Pretrial Services - Cleveland 7
telephone number 216-357-7300 _, no later than :
(C1) (b) continue or actively seek employment and shall comply with the Northern District of Ohio Defendant/Offender Employment Policy

(O) ©
(C) @

which may include participation in training, education, counseling, and/or daily job search as directed by the pretrial services and

probation officer. If not in compliance with the condition of supervision requiring full-time employment at a lawful occupation, the

defendant may be directed to perform up to 20 hours of community service per week until employed, as approved or directed by the
pretrial services and probation officer.

continue or start an education program.

surrender any passport to: and any travel related documents to the U.S. Clerk of Courts

(0 ) (e) not obtain a passport or other international travel document.

(O)

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(OD) @)

(OD) @)

(C1) ©)

(O) ©)

(QO) @)
(O) ©

abide by the following restrictions on travel restricted to the Northern District of
Ohio and/or

‘avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,

including: _

Undergo a psychiatric/mental health evaluation and/or counseling as directed by Pretrial Services. Take all medication as prescribed.

return to custody each at ‘o'clock after being released at _ o’clock for employment, schooling,
or the following purposes:

maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.

not possess a firearm, destructive device, or other weapon.

not use alcohol( [] )atall( [7] ) excessively.

not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing

Participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services
office or supervising officer. Refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and
accuracy of any prohibited substance testing which is required as a condition of release.

report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.
avoid all contact, directly or indirectly, with codefendants.

Case: 1:22-cr-00369-JPC Doc #: 10 Filed: 09/08/22 3 of 4. PagelD #: 37
AO199B Additional Conditions of Release OHND (5/17) Page 3 of 4

Ciparticipate in one of the following location restriction programs and comply with its requirements as directed.

C1 Participate in the Curfew component of the location monitoring program and abide by all requirements of the program which will include:
LiLocation monitoring technology at the discretion of the officer
CJRadio Frequency (RF) Monitoring
CiPassive GPS Monitoring
ClActive GPS Monitoring (to include hybrid GPS)

You shall pay the cost of the program based upon your ability to pay as determined by the pretrial services office or supervising officer.
Curfew: the defendant is restricted to their residence every day from to, or as directed by Pretrial Services.

OParticipate in the Home Detention component of the location monitoring program and abide by all Requirements of the program which
will include:

CLocation monitoring technology at the discretion of the officer

O)Radio Frequency (RF) Monitoring

OPassive GPS Monitoring

OCActive GPS Monitoring (to include hybrid GPS)

You shall pay the cost of the program based upon your ability to pay as determined by the pretrial services office or supervising officer.
Home Detention: The defendant is restricted to their residence at all times except for employment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved.
by Pretrial Services.

OParticipate in the Home Incarceration component of the location monitoring program and abide by all requirements of the program which
will include:

CLocation monitoring technology at the discretion of the officer

(Radio Frequency (RF) Monitoring

[Passive GPS Monitoring

OActive GPS Monitoring (to include hybrid GPS)

You shall pay the cost of the program based upon your ability to pay as determined by the pretrial services office or supervising officer.
Home Incarceration: The defendant is restricted to their residence at all times except for medical needs or treatment, religious services,
attorney visits, and court appearances pre-approved by Pretrial Services.

CiParticipate in Stand Alone Monitoring - The defendant shall be monitored by the form of location monitoring indicated below which
shall be utilized for the purpose of verifying compliance with any court imposed condition of supervision.

Location monitoring technology at the discretion of the officer

O)Radio Frequency (RF) Monitoring

(Passive GPS Monitoring

DActive GPS Monitoring (to include hybrid GPS)

You shall pay the costs of participation in the location monitoring program, based upon your ability to pay as directed by the pretrial
services and probation officer.

Oparticipate in cognitive behavioral program as instructed by the pretrial services and probation officer.

OProhibition on Access to Computer/Internet: The defendant is prohibited from accessing any computer, Internet Service Provider, bulletin board
system or any other public or private computer network or the service at any location * (including employment or education) without prior written
approval of the U.S. Pretrial Services and Probation Office or the Court. Any approval shall be subject to any conditions set by the U.S. Pretrial Services
and Probation Office or the Court with respect to that approval. Any computer found is subject to seizure and/or search. A search will not be conducted
prior to approval of the Court.

C1Computer/Internet Access Permitted: The defendant shall consent to the U.S. Pretrial Services and Probation Office conducting periodic
unannounced examinations of his/her computer system(s), which may include retrieval and copying of all memory from hardware/software and/or
removal of such system(s) for the purpose of conducting a more thorough inspection and will consent to having installed on his/her computer(s), at
his/her expense, any hardware/software to monitor his/her computer use or prevent access to particular materials. The defendant hereby consents to
periodic inspection of any such installed hardware/software to insure it is functioning properly. The defendant shall provide the U.S. Pretrial Services
and Probation Office with accurate information about his/her entire computer system (hardware/software); all passwords used by him/her; and his/her
Internet Service Provider(s); and will abide by all rules of the Computer Restriction and Monitoring Program.

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S.ATTORNEY U.S. MARSHAL
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DComputer/Internet Restrictions: The defendant is prohibited from accessing any on-line computer service at any location (including employment
or education) without prior written approval of the U.S. Pretrial Services and Probation Office or the Court. This includes any Internet Service Provider,
bulletin board system or any other public or private computer network. Any approval shall be subject to conditions set by the U.S. Pretrial Services and
Probation Office or the Court with respect to that approval.

The defendant shall consent to the U.S. Pretrial Services and Probation Office conducting periodic unannounced examinations of his/her computer
system(s), which may include retrieval and copying of all memory from hardware/software and/or removal of such system(s) for the purpose of
conducting a more thorough inspection and will consent to having installed on his/her computer(s), at the defendant's expense, any hardware/software
to monitor his/her computer use or prevent access to particular materials. The defendant hereby consents to periodic inspection of any such installed
hardware/software to insure it is functioning properly.

The defendant shall provide the U.S. Pretrial Services and Probation Office with accurate information about the defendant's entire computer system
(hardware/software); all passwords used by him/her; and the defendant's Internet Service Provider(s); and will abide by all rules of the Computer
Restriction and Monitoring Program.

CONo Contact with Minors: The defendant shall not associate or have verbal, written, telephone, or electronic communication with any person under
the age of 18 except in the presence of the parent or legal guardian of said minor. This provision does not encompass persons under the age of 18, such
as waiters, cashiers, ticket vendors, etc., with whom the defendant must deal in order to obtain ordinary and usual commercial services.

The defendant shall not frequent or loiter within 1000 feet of schoolyards, playgrounds, theme parks, arcades, swimming pools, skating rinks, toy stores
and other places where persons under the age of 18 play, congregate, or gather, without the prior express written approval of the U.S. Pretrial Services
and Probation Office.

The defendant shall not seek, obtain or maintain any employment, volunteer work, church or recreational activities involving minors (persons under
the age of 18) in any way without the prior express written approval of the U.S. Pretrial Services and Probation Office.

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of your
release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of release,
to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and nw), set forth above.

Aion Faleciele | dy Mohvel Golds

Defendant’s Signature

City and State: Telephone:

Directions to United States Marshal

|The defendant is ORDERED released after processing.

CThe United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the

defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
appropriate judge at the time and place specified.

Date: 9/8/2022

Thomas M. Parker; tates Magistrate Judge

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY U.S. MARSHAL
